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UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

G.-10_01082
UNITED STATES OF AMERICA, eRi ao- 2 as

Plaintiff, ) INFORMATION
)

Vv. ) [18 U.S.C. § 1832(a) (2): Theft
) of Trade Secrets]

AARON TIPNIS, )

)

Defendant. )
)

 

The United States Attorney charges:
COUNTS ONE AND TWO
[18 U.S.C. § 1832(a) (2)]

On or about the dates specified below, within the Central
District of California, and elsewhere, defendant AARON TIPNIS,
with the intent to convert a trade secret belonging to Aero
Vironment, Inc. and related to and included in a product produced
for and placed in interstate and foreign commerce, to the
economic benefit of a person other than the trade secret’s owner,
and intending and knowing that the offense would injure the owner
of the trade secret, knowingly copied, duplicated, sketched,

drew, photographed, downloaded, uploaded, altered, sent, mailed,

CHM: chm

 

 
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communicated, and conveyed such information without

 

authorization,

Count Date

ONE February
2008

TWO February
2008

as described below:

Description of Trade Secret

AV-900 system diagram schematic

Portion of a DC-DC display board schematic

ANDRE BIROTTE JR.

Acting United States Attorney.——
c :

7, L) wo

ROBERT E. DUGDALE
Assistant United States Attorney
Chief, Criminal Division

WESLEY L. HSU

Assistant United States Attorney
Chief, Cyber & Intellectual Property
Crimes Section

MARK C. KRAUSE

Assistant United States Attorney
Deputy Chief, Cyber & Intellectual
Property Crimes Section

CRAIG H. MISSAKIAN

Assistant United States Attorney
Cyber & Intellectual Property Crimes
Section

 

 
